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                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia


In Re: Debtor(s)
       India Cherrelle Jordan                                  Case No.: 18−56047−wlh
       200 Edgewood Ave NE Apt 424B                            Chapter: 13
       Atlanta, GA 30303                                       Judge: Wendy L. Hagenau

       xxx−xx−5985




                                                ORDER OF DISMISSAL



The Chapter 13 Trustee's objection(s) to confirmation came before the Court and

After hearing and for good cause shown, confirmation is denied, and

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within fourteen
(14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                               Wendy L. Hagenau
                                                               United States Bankruptcy Judge


Dated: June 29, 2018


Form 155
